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                 Abrams & Wofsy, Esqs.
                 255 Newark Avenue
                 Jersey City, New Jersey 07302
                 (201) 659-5500                                  UNITED’ STATES DISTRICT COURT
                                                                 DISTRiCT OF NEW JERSEY
                                                                 CRiMINAL NO. 09-501 (SRC)
                 UNiTED STAlES OF AMERICA                        CRIMINAL NO. 09463 (SR.C)

                            vs.                                  ORDER

                 PETER VENTRICELLI,

                                  Defendant.


                                                                                                                 ys for
                         This matter being opened to the Court by Abranis & Wofsy, Esqs.., attorne
                                                                                                     ce of the United
                 defendant, Peter VentriccUi, Andrew C. Abrams, Esq.. appearing in the presen
                                                                                                ey Leslie Faye
                  Stated attorney for the District of New Jersey, Assistant United States Attorn
                                                                                                           Conditions
                  Schwartz appearing, for an Order modifying the terms of the previous “Order Setting
                                                                                                 ant’s classi&ation of
                  of Release” dated November 19, 2009, specifically by changing the defend
                                                                                             so as .to allow for this
                  “Home Confinement” and amending it to one of ‘Home Detention”
                                                                                                        or supervising
                  defendant to be employed in a manner approved by the pretrial service office
                                                                                                        shown;
                  officer, and the United States Attorney having no objections and good cause being

                          ITiSonthis           /.           dayofAugiist,2010,
                                                                                                                  e” be
                          ORDERED that the November 19, 2009 “Order Setting Conditions of Releas

                  modified to reflect a change         in    defendant Peter Ventricelli’s requirement of “Home

                                                                                                    defendant; and
                  Incarceration” and amending it to a designation of “Home Detention” for said
                                                                                                            designation
                          IT IS FURTHER ORDERED that the newly imposed “Home Detention”
                                                                                                 at all times except for
                  shall require defendant: Peter Ventricelli to be restricted to his residence
                                                                                          or mental health treatment;
                  employment,, education; religious services; medical; substance abuse;
                                                                                            activities as pre-approved
                   att>mey visits; court appearances; court-ordered obligations; or other

                   by the pretrial services oflice or supervising officer; and
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rax    -




                  IT iS FTJRTHER ORDERED that all other terms of release impose
                                                                                       d in connection ith

           Crim. Nos. 09-501 and 09-863 shalJ remain in full force and effect.



                                                               )k Stanley R. Chester
                                                               United States District Court Judge



           I consent to the form and entry
